Case 1:05-cr-10003-.]DT Document 12 Filed 05/12/05 Page 1 of 2 Page|D 14

IN THE UNITED sTATEs DISTRICT coURT _M
FoR THE wEsTERN DISTRICT oF TENNESSEE:;F f

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EASTERN DIvIsIoN ¢'_

UNITED sTATEs oF AMERICA 324‘

vs. cR No. 1:05~106§§§

WINDY CLIMER

 

ORDER TO SURRENDER

 

Defendant, Windy Climer, #19345-076, having been sentenced
in the above styled matter to the custody of the Bureau of Prisons,
and having been granted leave by the Court to report to the
designated institution at his own expense, is hereby ordered to
surrender herself to the Bureau of Prisons by reporting to:

FMC Lexington SCP, 3301 Leestown Road, Lexington, KY 40511
(Telephone #859-255"6812) no later than l2:00 Noon on Tuesday,
May 31, 2005.

It is further ordered that upon receipt of a copy of this
order, the defendant shall sign and return the copy, to acknowledge
receipt of said order and that he will report as directed to the
above named institution.

IT IS ORDERED.

A.Q@~M`

JAME D. TODD
UNI D STATES DISTRICT JUDGE
DATE: cs

 

ACKNOWLEDGMENT TO BE SIGNED BY THE DEFENDANT: l agree to report as
directed in the above order and understand that if I fail to so
report, I may be cited for contempt of court and if convicted, may
be punished by imprisonment or fine or both.

 

 

Date Defendant Signature

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ISTRIC COURT - WESRNTE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CR-10003 Was distributed by faX, mail, or direct printing on
May 12, 2005 to the parties listed.

 

 

A. Russell Larson

LAW OFFICES OF A. RUSSELL LARSON
P.O. Box 2 1 63

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

